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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                               Plaintiffs,
                                                                    No. 24-mc-353 (LJL)
v.
                                                                    No. 24-cv-6563 (LJL)
RUDOLPH W. GIULIANI,

                               Defendant.



     DECLARATION OF M. ANNIE HOUGHTON-LARSEN IN SUPPORT OF
   PLAINTIFFS’ MOTION TO COMPEL THIRD-PARTY RYAN MEDRANO TO
PRODUCE DOCUMENTS RESPONSIVE TO PLAINTIFFS’ DOCUMENT SUBPOENA

       I, M. Annie Houghton-Larsen, an attorney admitted to practice in this Court, hereby declare

as follows pursuant to 28 U.S.C. § 1746:

       1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned actions.

       2.      I submit this declaration in support of Plaintiffs’ Letter-Motion to Compel third-

party Mr. Ryan Medrano to produce documents in response to Plaintiffs’ subpoena served under

Federal Rule of Civil Procedure 45 (the “Document Subpoena”).

       3.      Plaintiffs have received documents in third-party productions including an email

from Mr. Medrano sent from his email at the giulianipartners.com domain to Joseph Ricci on

October 7, 2024. A true and correct copy of this email is attached hereto as Exhibit 1.

       4.      On November 14, 2024, Plaintiffs emailed Mr. Medrano a copy of the Document

Subpoena, Plaintiffs’ Motion to Compel (24-mc-353, ECF No. 113), and the Court’s November

14, 2024 Scheduling Order (id., ECF No. 116) to his email at the domain giulianipartners.com. A
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true and correct copy of Plaintiffs’ email sending the Document Subpoena to Mr. Medrano is

attached hereto as Exhibit 2. Mr. Medrano never responded to this email.

       5.     On November 14, 2024, Plaintiffs emailed Defendant’s counsel a copy of the

Document Subpoena, Plaintiffs’ Motion to Compel (24-mc-353, ECF No. 113), the Court’s

November 14, 2024 Scheduling Order (id., ECF No. 116), and copies of document subpoenas to

Mr. Ted Goodman and Dr. Maria Ryan. A true and correct copy of Plaintiffs’ email sending the

Document Subpoena to Defendant’s counsel is attached hereto as Exhibit 3.

       6.     On November 21, 2024, Mr. Rudolph W. Giuliani’s business entity, Standard USA,

LLC, served responses to Plaintiffs’ information subpoena. A true and correct copy of Standard

USA, LLC’s information subpoena response is attached hereto as Exhibit 4.

       7.     On November 22, 2024, Plaintiffs emailed Defendant’s counsel a copy of the

Document Subpoena, Plaintiffs’ Motion to Compel (24-mc-353, ECF No. 113), the Court’s

November 21, 2024 Scheduling Order (id., ECF No. 141), and the Court’s November 21, 2024

Order granting alternative service on Mr. Medrano (id., ECF No. 143) with an instruction to

provide the documents to Mr. Medrano. A true and correct copy of Plaintiffs’ email sending the

Document Subpoena to Defendant’s counsel is attached hereto as Exhibit 5.

       8.     On December 4, 2024, Plaintiffs served Mr. Medrano a copy of the Document

Subpoena and this Court’s November 21, 2024 Order (24-mc-353, ECF No. 143) by email to Mr.

Medrano’s email at the domain giulianipartners.com. A true and correct copy of Plaintiffs’

December 4, 2024 email to Mr. Medrano is attached hereto as Exhibit 6. A true and correct copy

of the Document Subpoena is attached hereto as Exhibit 7.

       9.     On December 4, 2024, Plaintiffs served Mr. Medrano a copy of the Document

Subpoena, Plaintiffs’ Motion to Compel (24-mc-353, ECF No. 113), this Court’s November 21,




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2024 Order (id., ECF No. 141), and this Court’s November 21, 2024 Order (id., ECF No. 143) via

FedEx mail to Mr. Medrano at his home address at 27 Maryland Plaza, 2nd floor, St. Louis, MO

63108. A true and correct copy of the FedEx shipping confirmation on December 5, 2024 is

attached hereto as Exhibit 8.

       10.     On December 13, 2024, and twice on December 14, 2024, the process server for

Plaintiffs attempted to serve a subpoena to testify at a deposition on Mr. Medrano through in-

person service. These attempts were unsuccessful. A true and correct copy of an affidavit of

attempted service is attached hereto as Exhibit 9.

       11.     On December 17, 2024, Mr. Giuliani delivered a copy of his second amended initial

disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1). A true and correct copy of Mr.

Giuliani’s second amended initial disclosures is attached hereto as Exhibit 10.

       12.     As of the date of this filing, Mr. Medrano has not responded to the Document

Subpoena.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



Executed on December 19, 2024.                       s/ M. Annie Houghton-Larsen
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                                                     Attorney for Ruby Freeman and
                                                     Wandrea’ Moss




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